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                     EXHIBIT 7
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(Circuit Court of the 15th Cir. for Palm Beach County) ("Epstein v. Edwards").                  The

Supplemental responses also identified the pleadings, discovery responses and depositions in

twenty-four civil proceedings in which Dersbowitz's client, Jeffrey Epstein, is named as a party.

        DOC 291 merits specific discussion. DOC 291 thoroughly outlines: (1) The relationship

between Dershowitz and Epstein; (2) Dershowitz's role representing Epstein during the criminal

investigation of Epstein; (3) Dershowitz's role in negotiating the Non-Prosecution Agreement

("the NPA") between Epstein and the United States; (4) Facts inferring that Dershowitz was

aware of Epstein's illegal sexual activities with underage girls; and (5) Dershowitz's

participation in those activities. In addition to the numerous citations to publicly available media

stories concerning Epstein, DOC 291 included 29 exhibits. Those exhibits included, inter alia:

(1) A detailed and direct declaration of Jane Doe #3 concerning her sexual contact with Epstein,

Dershowitz, and others; (2) A Statement of Undisputed Facts containing 120 paragraphs of

supported factual material detailing Epstein's sexual abuse of children; (3) Deposition excerpts

identifying Dershowitz as one of Epstein's associates; (4) Deposition excerpts placing

Dershowitz in Epstein's home on numerous occasions and when girls were present; (5)

Deposition excerpts indicating Dershowitz received "a massage" at Epstein's home; (6) Portions

of an address book containing Dershowitz's name and contact information which an Epstein

associate characterized as "the Holy Grail;" and (7) Numerous demonstrably incomplete flight

manifests showing that Jane Doe No. 3 was transported on Epstein's private plane. See Plaintiffs

Response to Motion for Limited Intervention by Alan M. Dershowitz. Of course, production of
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this document to Mr. Dershowitz was unnecessary as it was specifically filed in the CVRA case

to oppose his efforts to intervene in that case and was unquestionably already in his possession.

        Plaintiffs subsequently delivered a Bates stamped version of their original July 2015

document production to Dershowitz's counsel. Additionally, Plaintiffs' counsel have identified

approximately four boxes of documents that they have offered to make available to Dershowitz's

counsel for inspection. vAs of today's date Plaintiffs have produced all documents which are

properly subject to discovery in this action, either by producing a copy directly to Dershowitz or

identifying publicly available pleadings which are responsive and easily obtainable by

Dershowitz.     Plaintiffs have complied with this Court's order and indicated that they have

produced all responsive non-privileged docun1ents. See Notice of Compliance with Discovery

Order, Dated July 14, 2015.

ARGUMENT

        1.      The Attorney-Client and Work Product Privileges Were Not Waived

                a.       Attorney-Client Privilege

                The attorney-client privilege is codified under Florida's Title VII Evidence. The

statute provides that neither an attorney nor a client may be compelled to divulge confidential

communications between a lawyer and client which were made during the rendition of legal

services. Fla. Stat. Ann. § 90.502(1)(c). Communication denotes more than just giving legal

advice; it also includes giving information to the lawyer to enable him to render sound and

informed advice. Hagans v. Gator/and Kubota, LLC/Sentry Ins., 45 So.3d 73, 76 (Fla. 151 DCA

2010) citing Upjohn Co. v. U.S., 449 U.S. 383, 390 (1981). To that end, the attorney-client
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privilege, under Florida law, protects from discovery not only Plaintiff's advice to Jane Doe #3,

but any information that Jane Doe #3 told Plaintiffs in confidence.

        Generally, the burden of establishing the attorney-client privilege rests on the party

claiming it, Turney, 824 So.2d atl85; citing Fisher v. United States, 425 U.S. 391 (1976), but

when conununications appear on their face to be privileged, the burden is on the party seeking

disclosure to prove facts which would make an exception to the privilege applicable. Ford Motor

Co. v. Hall-Edwards, 997 So.2d 1148, 1153 (Fla. 3d DCA 2008); Rousso v. Hannon, 146 So.3d

66, 70 (Fla. 3d DCA 2014). In this case, there is no real dispute that an attorney-client privilege

exists with regard to the conununications between Jane Doe #3 and Plaintiffs. Dershowitz's

argument is that the privilege should be waived. Therefore, the burden is on Dershowitz to

overcome the privilege.

        Dershowitz asserts that he is entitled to the privileged communications between Jane Doe

#3 and her counsel under the "at issue" doctrine. Dershowitz relies on two federal district court

cases - Hearn v. Rhay, 68 F.R.D. 574 (E.D. Wash. 1975) and Pitney-Bowes, Inc. v. Mestre, 86

F.R.D. 444 (S.D. Fla. 1980) - both apply federal, not Florida law. Under Florida law, which

applies to this state law defamation claim, waiver only occurs if the privileged communication is

required to prove a claim. Guarantee Ins. Co. v. Heffernan Ins. Brokers, Inc., 300 F.R.D. 590,

594-95 (S.D. Fla. 2014). Dershowitz cannot make this showing.

                         i.       Since Jane Doe #3 is the sole possessor of the attorney-
                                  client privilege, Edwards and Cassell could not put Jane
                                  Doe #3's privileged information "at-issue" in the
                                  defamation suit against Dersbowitz
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        First and foremost, Dershowitz's "at issue" argument fails because it relies on the

assumption that Edwards and Cassell are the holders of the attorney-client privilege and have

authority to waive the attorney-client privilege. They are not and they do not

        In this case, only Jane Doe #3, as the client, has authority to waive the privilege. She is

not a party to this case. The holdings in Savino v. Luciano, 92 So.2d 817 (Fla. 1957), Coates v.

Akerman, Senterfitt & Edison, P.A., 940 So.2d 504 (Fla 2d DCA 2006), and Gemvese v.

Provident Life and Accident Ins. Co., 74 So.3d 1064 (Fla. 2011) all make plain that only the

holder of the privilege can put the privileged communication at issue. Indeed, in each of these

cases it was the client who brought the action, not the attorneys, as is the case here. This

distinction alone makes the ''at-issue" doctrine inapplicable. 1




1
  Under Florida law, the attorney-client privilege belongs to the client, not the attorney. Fla. Stat.
Ann. § 90.502(3); See also Fla. Stat. Ann. § 90.502(2) (A client has a privilege to refuse to
disclose, and to prevent any other person from disclosing, the contents of confidential
communications when such other person learned of the communications because they were made
in the rendition oflegal services to the client). Although Jane Doe #3 is not a party to the current
action, the privilege is still hers alone. A client may assert the privilege even though the client is
not a party to the action in which the communication might be disclosed. Gerheiser v. Stephens,
712 So.2d 1252, 1255 (Fla. 4th DCA 1998); Charles W. Ehrhardt, 1 Fla. Prac., Evidence§ 502.6
(2015 ed.). Some courts have even recognized that there could be serious due process issues
created by a procedure through which a client lost their privilege without notice or an
opportunity to be heard in the proceedings. Rogers v. State, 742 So.2d 827, 829 (Fla 2d DCA
1999). Under § 90.502(2), Jane Doe #3 has the right to refuse to disclose the contents of
confidential communications made during the rendition of legal services by Edwards and
Cassell. As long as the Jane Doe #3 has a reasonable expectation of privacy in the
communication, under§ 90.507, the privilege is protected. Mcwatters v. Stale, 36 So.3d 613, 636
(Fla. 2010).
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        Plaintiffs could not nor did they waive the attorney-client privilege by filing a personal

defamation claim against Dershowitz. Dershowitz has cited no authority establishing that an

exception to the privilege applied or that Jane Doe #3 ever consented to a waiver of the privilege.

                         11       The test set out in Savino for "at-issue" doctrine is not
                                  met with regard to the defamation action filed by
                                  Edwards and Cassell.

        Even if Plaintiffs were able to waive Jane Doe #3 's attorney-client privilege,

Dershowitz's "at issue" argument fails because it does not meet the "at-issue" test as set out in

Savino v. Luciano, 92 So.2d 817 (Fla. 1957). In Savino, a defendant filed a counterclaim based

on an audit and report from a certified public accountant. Id.at 818. There was no doubt that at

trial the defendant would rely on the audit and report. Id. at 819. However, the defendant asserted

that for the purposes of discovery, the audit and report were confidential and privileged. Id. The

court found this to be an anomaly and held that the defendant waived his privilege during the

discovery procedure because (1) there was no doubt that the defendant would use privileged

information as proof of his defenses and counterclaim at trial and (2) his pleadings led

inescapably to that conclusion. Id. Therefore, the test for whether a claim or defense will

"necessarily require that the privileged matter be offered in evidence" under the "at-issue"

doctrine is whether the holder of the privilege clearly intends to offer the privileged matter at

trial and that intent is clear in the pleadings, i.e., the complaint. Id; see also Diaz- Verson v.

Walbridge Aldinger Co., 54 So.3d I007, I 011(Fla.2d DCA 2010).

        In Coates v. Akerman, Senterfltt & Edison, P.A., 940 So.2d 504 (Fla. 2d DCA 2006), the

court explained the holding in Savino did not mean that a party waives attorney-client privilege
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merely by bringing or defending a lawsuit. Id. Waiver only occurs when a party raises a claim

that will necessarily require proof by way of privileged information. Id.

        In Coates, clients brought claims against their former lawyers based on the legal advice

the lawyers allegedly gave with regard to a plan and joint venture. Id. Since the clients could not

establish their claim against the lawyers at trial without evidence of the advice the lawyers gave,

the court found that the privilege was waived with regard to the communications between the

former lawyers and the clients. Id. On the other hand, the clients did not put at issue their

communications with other professionals regarding the plan and joint venture by suing the

lawyers. Id. Rather, the lawyers, by asserting a defense based upon the clients' communications

with other professionals, put the communications at issue. The court held that an opposing party

cannot waive a party's attorney client privilege based on the possibility that disputed

communications may be relevant to or may assist the opposing party in their defense or in their

third party claims. Id. at 509. Under Coates, Dershowtiz cannot claim that Plaintiffs put attorney-

client communications at issue just because those communications might help Dershowitz

defend the defamation action. See Def. Mot. to Compel at 6 ("It would be inequitable to preclude

Dershowitz from proving this affirmative defense" by upholding privilege).

        In Genovese v. Provident Life and Accident Ins. Co., the Florida Supreme Court further

clarified that the attorney-client privilege "is not concerned with the litigation needs of the

opposing party," and that ''there is no exception provided under § 90.502 that allows the

discovery of attorney-client privileged communications where the requesting party has

demonstrated need or undue hardship." Id. at 1068. The pUJ1'0se of the attorney-client privilege
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is to encourage full and frank communication between the attorney and the client. Id. This

significant goal of the privilege would be severely hampered if a client were aware that her

communications with her attorney, which were not intended to be disclosed, could be revealed

upon the request of the opposing party. Id. The court cited both Coates and Savino to show that

the "at issue'' doctrine allows discovery of privileged material only when the holder of the

privilege - the client - raises the: advice of counsel as a claim or defense in the action and the

communication is essential to the claim or defense. Id.

        Dershowitz asserts that in order to establish he defamed Plaintiffs, they must show that (i)

they conducted an investigation regarding the credibility of Jane Doe #3's allegations against

Dershowitz, and (ii) that the allegations asserted against Dershowitz by Jane Doe #3 were well-

founded. (Dershowitz Mot. to Compel pp. 5-6). But to make this assertion, Dersbowitz must

show the complaint filed against him is premised on privileged information which they would

have to introduce at trial in order to establish defamation. Dershowitz has not made this showing.

        Instead, Dershowitz merely points to paragraph 17 of the Complaint. Paragraph 17 states:

                Immediately following the filing of what Defendant, Dershowitz,
                knew to be an entirely proper and well-founded pleading,
                Dershowitz initiated a massive public media assault on the
                reputation and character of Bradley J. Edwards and Paul G. Cassell
                accusing them of intentionally lying in their filing, of having
                leveled knowingly false accusations against the Defendant,
                Dershowitz, without ever conducting any investigation of the
                credibility of the accusations, and of having acted unethically to
                the extent that their willful misconduct warranted and required
                disbannent.

This paragraph is not a clear indication that Plaintiffs must introduce privileged information to

establish that Dershowitz defamed them. In fact, Dershowitz himself asserts that Plaintiffs "made
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the information and documents they seek to withhold directly relevant to the issues in dispute."

(Dershowitz Mot. to Compel, p. 5) (emphasis added). Relevance is insufficient to waive

privilege under Florida law. Guarantee Ins, 300 F.R.D. at 594; citing Coyne v. Schwartz, Gold,

Cohen, Zakarin & Kotler, P.A., 715 So.2d 1021, 1022 (Fla. 4th DCA 1998). Dershowitz must

show that Plaintiffs made clear in their complaint that they would rely on privileged information

as evidence at trial. He has failed to make this showing. Therefore, the "at-issue" test, as stated in

Savino, has not been met.

                b.       Attorney-Work Product

         Although Dershowitz peppers his privilege argument with assertions that Edwards and

Cassell have waived their work product privilege, he cites no authority. The "at issue" legal

theory Dershowits relies on to argue, incorrectly, that attorney-client privilege has been waived,

applies only to that privilege. The work product doctrine is quite distinct from attorney-client

privilege, and application of the privileges and exception to them differ. West Bend Mutual Ins.

Co. v. Higgins, 9 So.3d 655, 656 (Fla. 5th DCA 2009).           The function of the work product

doctrine is to protect counsel's mental impressions. Id. To pierce the privilege, Dershowitz must

show "that the substantial equivalent of the material cannot be obtained by other means." S Bell

Tel. & Tel. Co. v. Deason. 63 2 So. ?d 13 77. 13 85 (Fla.1994). Dershowitz has not even identified

any specific work product he claims to need, much less shown why he cannot get the underlying

information from another source.          The Court should disregard Dershowitz's assertions that

Cassell and Edwards waived their work prnduct privilege because Dershowitz has made no

argument to support his sweeping assertions.
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                 2.       Plaintiffs Relevancy and Admissibility Objections

          Discovery requests must be relevant to the subject matter of the litigation and must seek

admissible evidence or be reasonab)y calculated to lead to admissible evidence. Davich v.

Norman Bros. Nissan, Inc., 739 So. 2d 138, 141 (Fla 5th DCA 1999) (emphasis added); Fla. R.

Civ. P. l.280(b). While relevancy in the discovery context is broader than in the trial context,

and a party may be permitted to discover relevant evidence that would be admissible at trial if it

may lead to the discovery of admissible evidence, "'litigants are not entitled to carte blanche

discovery of irrelevant material.'" Tanchel v. Shoemaker, 928 So. 2d 440 (Fla. 5th DCCA 2006)

(quoting Residence Inn by Marriott v. Cecile Resort, Ltd., 822 So. 2d 548, 550 (Fla. 5th DCA

2002)).

                 a.       Request for Production No. 2.

          As discussed below, Plaintiffs provided an exhaustive response to this request, including

DOC 291 and exhibits, and the Statement of Undisputed Material Facts filed in Epstein v.

Edwards, which explicitly detail Dershowitz's "participation in Epstein's criminal conduct." All

documents which are relevant, admissible, or likely to lead to discoverable evidence which are

responsive to this request have been: ( l) Produced; (2) Made available for inspection at

Plaintiffs' counsel's office; or (3) Identified and available to Dershowitz in public case files.

Plaintiffs' production consists of the known universe of documents that are responsive to this

request and to the extent Dershowitz seeks additional materials they are certainly beyond the

scope of discovery and as to those documents the objection is appropriate. Additionally, as
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discussed below, any material covered by the attorney-client or attorney-work product would

also be beyond the scope of discovery, irrelevant and/or inadmissible.

                 b.      Request for Production Nos. 10, 20, 26, 28, 29, 30, 31 and 34.2

        These requests seek pleading drafts, internal documents and drafts and attorney-

client communications concerning press                 releases,   notes     concerning Plaintiffs'

investigation into Jane Doe's allegations against Dershowitz and Jane Doe herself, and

notes and attorney-client communications concerning potential media deals for Jane Doe

#3, and notes and attorney-client communications used to draft Jane Doe No. 3's motion

to intervene. As stated above the Jane Doe #3 has not waived the attorney-client privilege

and the requested material is inadmissible attorney-client and attorney-work product. See

Fla. R. Evid. 90.402, Law Revision Council Note-1976.                      Plaintiffs' relevancy and

admissibility objections to these requests were proper.

        3.      Plaintiff's Remaining Objections Are Sufficiently Specific

        "Objections to a request for production can be made either because the items requested

are not within the permissible scope of discovery or on any ground that would support an

application for protective order under Rule l.280(c)." American Funding, Ltd v. Hill, 402 So.

2d 1369, 1370 (Fla. 4th DCA 1981).              The grounds provided for under Rule l.280(c) are:


2
  Dershowitz also argues that relevancy and admissibility objections to Interrogatory Nos. 13 and
21, and Requests for Production Nos. 3,6,7,8,9, 14,15,21,22,25, 32 and. 35 should be overruled.
Plaintiffs did not raise relevancy and admissibility objections to Interrogatory Nos. 13 and 21.
Similarly, Plaintiffs did not raise relevancy and admissibility objections to Requests for
Production No. 3,6, 7,8,9, 14, 15, 21, 22, 25, 32, and 35 except to the extent raised in Plaintiffs'
responses to other requests for production, and particularly Plaintiffs' responses to Request Nos.
2 and 10.
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"annoyance, embarrassment, oppression, or undue burden or expense."                 To preserve the

objection "the response to the request for production of documents need only set forth the

objection and the reason for the objection." Bartolo-Aventura, Inc. v. Hernandez, 638 So.2d 988

(1994). The foregoing authority necessarily applies equally to objections to interrogatories as the

language in the rule concerning the making of an objection to an interrogatory is identical to the

language concerning the making of an objection to a request for production. See Fla. R. Civ. P.

1.340(a) ("Each interrogatory shall be answered separately and fully in writing under oath unless

it is objected to, in which event the grounds for objection shall be stated, ... ") and Fla R. Civ. P.

1350(b) ("For each item or category the response shall state that inspection and related activities

will be permitted as requested unless the request is objected to, in which event the reasons for the

objection shall be stated.").

        In each instance where Plaintiff's raised objections beyond the attorney-client privilege,

attorney-work product, and relevance and admissibility, Plaintiffs stated the reason for the

objection. Moreover, Dershowitz has failed to identify which, if any of Plaintiffs' request-

specific objections is insufficient, making instead a generalized argument that all of these

objections fail regardless of the request-specific context in which the objections were raised.

Plaintiffs have demonstrated that their objections complied with the rules. Plaintiffs, however,

cannot guess as to why Dershowitz thinks a particular request-specific objection is improper.

Plaintiffs' objections accordingly, should be sustained..
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        4.       Plaintiffs Have Either Produced or Identified All Documents Concerning
                 Dersbowitz's Relationship With Epstein and His Involvement in Epstein's
                 Criminal Activities

                 A.       Plaintiffs' Production Adequately Identifies the Documents
                          Supporting Plaintiffs' Claims and Defenses in this Action.

        As detailed in the introduction, in response to Plaintiffs Request for Production No. 2,

Plaintiffs either produced or identified an exhaustive number of documents.

        Finally, and most significantly, Plaintiffs identified and produced DOC 291 , which

plainly identifies publicly available documents and includes volwninous exhibits identifying

Epstein's crimes, Dershowitz's relationship with Epstein, Dershowitz's representation of

Epstein, and facts indicating Dershowitz's knowledge of Epstein's activities and participation in

the same. For Dershowitz to claim, after having litigated the issues raised in DOC 291 and

studying its contents, that he cannot determine which documents implicate him in Epstein's

criminal conduct, negotiating the NPA for his own benefit and documents evincing Plaintiffs

investigation of him, is disingenuous. DOC 291 and its attachments, including the Statement of

Undisputed Material Facts in Epstein v. Edwards thoroughly and completely identify the

documents Dershowitz needs to have to understand Plaintiffs' claims and defenses in this action.

        Moreover, while Dershowitz claims Plaintiffs' responses were inadequate under Florida

law, he cites not authority for this proposition. It is apparent that Dershowitz's real motivation

for filing this motion to compel was not to obtain responsive documents, but to force Plaintiffs to

explain why they identified the responsive documents and prematurely produce an exhibit list.

Plaintiffs' discovery responses were more than adequate and Dershowitz's motion to compel

additional responses should be denied.
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                 B.      Dershowitz Has the Same Access to Public Documents As do
                         Plaintiffs.

        In addition to the documents produced directly to Dershowitz and/or made available for

him to inspect at counsel's office Plaintiffs identified the case files in 24 civil lawsuits as

responsive to Dershowitz's request. These files demonstrate the magnitude of Epstein's criminal

conduct and the unlikelihood that Dershowitz was ignorant of his confidant and close friend's

criminal behavior.

        Dershowitz complains that some of the documents are sealed or otherwise unavailable to

him. A review of the federal cases identified in Plaintiffs' responses, however, reveals in the

federal cases approximately sixty-five pleadings out of hundreds of documents were sealed and

many of them have subsequently been unsealed.3 The documents that remain sealed are almost

exclusively related to a single sealed civil case, Case No. 9:08-cv-80119 KAM. Plaintiffs did not

represent parties in that case and do not have access to those documents. This case was almost

certainly sealed on Epstein's request after settlement, and Dershowitz is undoubtedly familiar

with its contents given his association with Epstein.        Dershowitz's argument also fails to

comprehend that the documents that remain sealed are sealed as to Plaintiffs as well. Moreover,

given the magnitude and thoroughness of the production already made available to Dershowitz,

the sealed documents are almost certainly duplicative of material already produced and available

to Dershowitz. Finally, Plaintiffs have produced numerous depositions and deposition excerpts




3
 Plaintiffs have not conducted a similar analysis of the State Court dockets but Dershowitz has
not identified any sealed documents in the State Court dockets that he believes he is entitled to.
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that were in their possession, and/or made them available to Dershowitz to inspect and his

complaint that he does not have access to these materials is not factually supported.

                 C.      Dershowitz Is In the Better Position to Know What
                         Documents Concern His Negotiation of the NPA.

        Plaintiffs, in their extensive production, produced, identified, or made available for

inspection all known and unsealed documents related to Dershowitz's negotiation of the NPA for

his benefit. If there are responsive documents that were not included in this response Dershowitz

is in a better position than Plaintiffs to know what those documents are, yet has failed to identify

any such document with sufficient specificity to permit Plaintiffs to conduct an investigation into

whether the documents exists and are in their possession or control. Further, Plaintiffs have, in

fact, attempted to discover this information from Dershowitz, only to be stonewalled by him.

Dershowitz's complaint that Plaintiffs' response to his Request for Production No. 22 fails to

produce responsive documents, accordingly, is not well taken.

        5.      'Dershowitz Is Not Entitled to Compel Discovery of Plaintiff's Fee
                Agreement with Jane Doe #3.

        "(D]iscovery of an opposing party's legal costs is a matter left to the discretion of the trial

court," and the trial court's discretion is tempered by the requirement that any information

sought must be "relevant to the subject matter of the pending action." Anderson Columbia v.

Brown, 902 So.2d 838, 841 (Fla. 1st DCA 2005); Fla. R. Civ. P. Rule l.280(b)(l).

        Although an attorney fee agreement is generally not privileged, Florida has not yet

adopted a hard and fast rule regarding the discovery and admission of opposing counsel's fees.

Anderson Columbia v. Brown, 902 So.2d 838, 841 (Fla. 1st DCA 2005) citing Mangel v. Bob
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Dance Dodge, Inc., 739 So.2d 720, 724 (Fla. 5th DCA 1999). Plaintiffs are not required to reveal

information containing descriptions of the services rendered to Jane Doe No. 3. If the billing

statements or fee agreement at issue include detailed descriptions of the nature of the services

rendered and could reveal the mental impressions and opinions of the Jane Doe No. 3's counsel

to Dershowitz, .the billing statements may be protected from discovery by both the attomey·client

privilege and the work product doctrine. Old Holdings, Ltd v. Taplin, Howard, Shaw & Miller,

P.A., 584 So.2d 1128, 1128~29 (Fla. 4th DCA 1991); Fla. R. Civ. P. l.280(b)(4); see Markel Am.

Ins. Co. v. Baker, 152 So. 3d 86, 92 (Fla. Dist. Ct. App. 2014) (Opinion work product consists

primarily of the attorney's mental impressions, conclusions, opinions, and theories" concerning

the client's case and is basically absolutely privileged); S. Bell Tel. & Tel. Co. v. Deason, 632

So.2d 1377, 1383-84 (Fla.1994). Under these circumstances, Edwards and Cassell are entitled to

an in camera review of the documents prior to disclosure to Dershowitz. Butler v. Harter, 152

So. 3d 705, 714 (Fla. 1st DCA 2014) citing E. Airlines, Inc. v. Gellbert, 431 So.2d 329, 332 (Fla

3d 1983).

        6.      Dershowitz is Not Entitled to Book, Television or Movie Deal
                'Documents.

                A.       'Dershowitz Is Not Entitled to Documents that Are Not in
                         Plaintiffs' Possession or Under Their Control and Supervision.

        Plaintiffs do possess or control any signed media agreements, either between themselves

and media companies, or between Jane Doe No. 3 and prospective media companies. Plaintiffs

have no obligation to produce documents which are not in their "possession, or which are under

[their] control and supervision." Fritz v. Norflor Const. Co., 386 So.2d 899, 901 (Fla 5th DCA
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1980). Any media deals Jane Doe No. 3, a non-party, may have negotiated but did not provide to

Plaintiffs are beyond their control and supervision and cannot be produced in response to

Dershowitz's discovery request.

                 B.      Any Communications Between Plaintiffs and Jane Doe No. 3
                         Concerning Media Deals Are Privileged.

        Absent a signed contract in Plaintiffs' possession, the only plausibly responsive

documents Plaintiffs' could produce in response to Request for Production No. 29 would be

Plaintiffs' communications with Jane Doe No. 3 concerning potential media contracts. Such

documents are plainly protected by attorney-client privilege. The privileged character of these

communications is not negated by Dershowitz's claimed need to probe her and her lawyers'

financial motivations. The Florida District Court of appeal has plainly held that the attorney-

client privilege is not waived by a party unless the party raises a claim that necessarily will

require proof by way of a privileged communication. Jenney v. AirdaJa Wiman, Inc. 846 So.2d

664, 668 (Fla. 2d DCA 2003). That has not happened here. Jane Doe No. 3's intent and

motivation in negotiating a media contract is not necessary to prove Plaintiffs' defamation

claims. Moreover, Jane Doe No. 3 is not a party to this case and has not put her intent and

motivation at issue. Finally, as discussed above, the attorney-client privilege belongs to Jane

Doe No. 3, not Plaintiffs and she has not waived it in this case.

        7.      Discovery Received from the U.S. Attorney's Office in the CVRA Case
                Remains Sealed.

        Dershowitz's assertion that discovery from the United States in the CVRA has been

unsealed is wrong. On January 5, 2011, Judge Marra ruled that before victims' counsel (i.e.,
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Edwards and Cassell) could use any of the correspondence in a proceeding, they had to seek a

ruling from the appropriate institution - for example, from the federal court in the CVRA

case. See DE 226 at 5. Thereafter, Cassell and Edwards did seek a ruling that they could use the

correspondence in the federal CVRA case.               The Court ultimately ruled that there was no

privilege to the materials involved. DE 188. Epstein then appealed to the 11 thCircuit, which

affirmed Judge Marra's order holding that "[nJo privilege prevents the disclosure of the plea

negotiations." Jane Doe No. 1 v. United States ofAmerica, 749 F.3d 999, 1008, 1010 (11th Cir.

2014).

         Thereafter, Epstein moved for a confidentiality order. Judge Marra granted the motion in

part and denied the motion in part. DE 255. Judge Marra asked for the drafting of a protective

order. After further litigation about the scope of the protective order, on April 15, 2015, Judge

Marra denied the issuance of any supplemental protective order and ordered that victims'

counsel could file any of the correspondence that they wanted in support of motions in the

CVRA case. DE 326 at 12-13. However~ Judge Marra also cautioned that any such filing of

correspondence should be limited to those materials that were "pertinent to a matter fairly

presented for judicial resolution." DE 326 at 13.

         All correspondence that has not been made public elsewhere remains under seal-unless

and until plaintiffs counsel find a good faith reason for including it in filings in support of

motions in the CVRA case. Stated otherwise, the only correspondence that is not sealed at this

time is correspondence that has been filed publicly, either in the CVRA case or elsewhere. Any
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such correspondence is easily available to Dershowitz in the public court files of the CVRA case

or elsewhere.

        Additionally, several hundred pages of correspondence have already been provided to

Dershowitz. See, e.g., Bates BE-000997-1000, BE-001063-1100; BE-001161-1484. These

materials were properly and publicly filed in the Edwards v. Epstein action and are thus no

longer under seal. While these materials are publicly accessible to Dershowitz, they have

already been provided directly to him. It is ironic that Dershowitz is claiming difficulty in

obtaining the correspondence. By definition, the materials at issue involve correspondence sent

either to or from the defense team, a group that includes Dershowitz.

        Finally, Dershowitz never clearly explains how these materials regarding plea

negotiations in 2006 to 2008 about crimes committed in 1999 to 2001 are relevant to his

defamation action alleging that Edwards and Cassell made inappropriate statements in 2015.

        8.      Plaintiffs' Have Already Certified Their Compliance With This
                Court's Discovery Order.

        Plaintiffs have already complied with this Court's July 2, 2015 Agreed Order on Motions

to Compel by filing their Notice of Compliance with Discovery Order on July 14, 2015.

Plaintiffs continue to conduct their investigation into the facts of this matter and are mindful of

the discovery deadlines, this Court's order and their implications. Dershowitz can assume: (1)

All non-privileged documents that are responsive to legitimate discovery requests and in

Plaintiffs' possession or control have been produced or are available to him for inspection; (2)

All non-privileged documents that are responsive to legitimate discovery requests and not in

Plaintiffs' possession or control, but publicly available, have been identified; and (3) Production
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will be complete at the close of fact discovery. Dershowitz's request for an extraordinary order

forcing Plaintiffs' conclude their investigation prior to the close of discovery and certify that they

have produced all responsive documents should be denied.


        I HEREBY CERTIFY that a true and +(ect copy of the foregoing was sent via &Serve

to all Counsel on the attached list, this     /   5 day of October, 2015.

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Case No.            Document No.               Notes
08-80893            5
                    15                         Order granting doc. 2, Motion to Proceed
                    109                        Sealed Document Associated Cases: 9:08-cv-
                    142                        Sealed Document
                    143                        Sealed Document
                    144                       Endorsed Order denying doc. 141 , Motion for
                    No doc. number, located   Docket Entry 194 restricted/sealed until further
                   No doc. number, located    Docket Entry 195 restricted/sealed until further
                   No doc. number, located    Docket Entry 204 restricted/sealed until further
                   No doc. number, located    Docket Entry 205 restricted/sealed until further
                   No doc. number, located    Docket Entry 206 restricted/sealed until further
08-80232            14                        Sealed Document. Unsealed see DE 18
                    15                        Sealed Document. Unsealed see DE 19
                    18                        Unsealed Motion to Seal
                    19                        Unsealed Notice of Continued Pendency of
                    16                        Order denying motion to file Ex Parte and Under
                   24                         Unsealed Sealed Document
                   25                         Unsealed Sealed Document
                   28                         Order Denying motion to seal. The clerk shall
                    128                       Sealed Document Associated Cases: 9:08-cv-
08-80380           25                         Sealed Document. Unsealed see DE 29
                   26                         Sealed Document. Unsealed see DE 30
                   29                         Unsealed Motion to Seal
                   30                         Unsealed Notice of Continued Pendency of
                   27                         Order denying motion to file Ex Parte and Under
                   35                         Unsealed Sealed Document
                   36                         Unsealed Sealed Document
                   43                         Unsealed Reply to Response to Motion re 13
                   40                         Order Denying Motion to Seal. The clerk shall
                   145                        Sealed Document Associated Cases: 9:08-cv-
08-80994           81                         Sealed Document Associated Cases: 9:08-cv-
08-80993           96                         Sealed Document Associated Cases: 9:08-cv-
08-8081 l          6                          Sealed Document. Unsealed see DE 32
                   7                          Sealed Document. Unsealed see DE 33
                   32                         Unsealed Motion to File Under Seal
                   33                         Unsealed Motion to Stay
                   17                         Sealed Document. Unsealed see DE 34
                   34                         Unsealed Reply in Support of33 Motion to Stay

                    27                        Order Denying Motion to Seal re 6 Sealed
                                              Document. 17 Sealed Document, 7 Sealed
                                              Document. The clerk shall unseal docket entries
                                              6, 7, and 17 and make them available for public
                                              "''"   ""

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           Case 1:15-cv-07433-LAP Document 185-7 Filed 06/01/16 Page 24 of 26


                   28                        Order Denying Motion to Stay 6 Sealed
                                             Document. 7 SeaJed Document. Per this Court's
                                             Order DE 27 the Clerk shall unseal and tenninate
                                             these nendim? documents.
                   143                       Sealed Document Associated Cases: 9:08-cv-
                                             80119-KAM et al.
08-80381           23                        Sealed Document. Unsealed see DE 27
                   24                        Sealed Document. Unsealed see DE 28
                   27                        Unsealed Motion to seal
                   28                        Unsealed Notice of Continued Pendency of
                                             Federal Criminal Action bv Jeffrev Eostein
                   25                        Order denying motion to file Ex Parte and Under
                                             Seal. The Clerk shall unseal DE 23 and 24 and
                                             make them available for public inspection

                   33                      Unsealed Sealed Document
                   34                      Unsealed Sealed Document
                   41                      Unsealed Motion for Leave to File
                   42                      Unsealed Reply to Response to Motion re l l
                                           Defendant's Motion to Stav
                   37                      Order Denying Motion to Seal. The Clerk shall
                                           unseal DE 33 Sealed Document, 34 Sealed
                                           Document and make them available for public
                                           insn,..ction
                   129                     Sealed Document Associated Cases: 9:08-cv-
                                           80119-KAM et al.
08-80804           4                       Sealed Document. Unsealed see DE 17
                   5                       Sealed Document. Unsealed see DE 18
                   17                      Unsealed Motion to File Under Seal
                   18                      Unsealed Motion to Stav
                   6                       Order Denying Motion to Seal. The Clerk shall
                                           unseal DE 4 Sealed Document, 5 Sealed
                                           Document and make them available for public
                                           insnection
09-80469           54                      Sealed Document Associated Cases: 9:08-cv-
                                           80119-KAM et al.
09-80591           No doc. number, located Docket Entry 3 restricted/sealed until further
                   between docs. 2 & 5     notice

                   No doc. number, located Docket Entry 4 restricted/sealed until further
                   between docs. 2 & 5     notice

                   68                      Sealed Document Associated Cases: 9:08-cv-
                                           80119-KAM et al.
09-80656           No doc. number, located Docket Entry 3 restricted/sealed until further
                   between docs. 2 & 5     notice

                   No doc. number, located Docket Entry 4 restricted/sealed urtil further
                   between docs. 2 & 5     notice

                   46                        Sealed Document Associated Cases: 9:08-cv-
                                             80119-KAM et al.
09-50802           NIA                       NIA
09-81092           NIA                       NIA
10-81111           N/A                       NIA
           Case 1:15-cv-07433-LAP Document 185-7 Filed 06/01/16 Page 25 of 26


10-80447           NIA                NIA
08-80893           5                 System entry-Docket Enrty 5 restricted/sealed
                                     until further notice
08-80893           15                Order granting doc. 2, Motion to Proceed
                                     Anonymously; granting doc. 3, Motion to Keep
                                     True Name in Sealed Envelooe
08-80893           109               Sealed Document Associated Cases: 9:08-cv-
                                     80119-KAM et al.
08-80893           142               Sealed document (rb)
08-80893           143               Sealed document (rb)
08-80893           NI A              System Entry- Docket entry 194 restricted/sealed
                                     until further notice
08-80893           NIA               System Entry- Docket entry 195 restricted/sealed
                                     until further notice
08-80232           14                Sealed document. Unsealed see DE 18
08-80232           15                Sealed document. Unsealed see DE 19
08-80232           18               Unsealed motion to seal Jefferv Eostein
08-80232           19                Unsealed Notice of Continued Pendency of
                                    Federal Criminal Action by Jeffrey Eostein
08-80232           28               Order Denying motion to seal. The clerk shall
                                     unseal DE 24 Sealed Document and make them
                                    available for oublic insoection
08-80232           128               Sealed Document Associated Cases: 9:08-cv-
                                    80119-KAM et al.
08-80380           25               Sealed document see DE 29
08-80380           26                Sealed document see DE 30
08-80380           29               Unsealed motion to seal bv Jefferv Eostein
08-80380           30               Unsealed Notice of Continued Pendency of
                                    Federal Criminal Action by Jeffrey Eostein
08-80380           27               Order denying motion to file ex parte and under
                                    seal. The clerk shall unseal DE 25 and 26 and
                                    make them available for public inspection at the
                                      ,.rJiest oossible time
                                    1. .


08-80380          35                Unsealed Sealed Document See DE 43
08-80380          36                Unsealed Sealed Document See DE 44
08-80380          43                Unsealed motion for Leave to File by Jeffery
                                    Eostein
08-80380           44               Unsealed Reply to Response to Motion re 13
                                    Defendant's Motion to Stav
08-80380          40                Order Denying Motion to Seal. The clerk shall
                                    unseal DE 36, 35 Sealed Document and make
                                    them available for oublic insnection
08-80380           145              Sealed Document Associated Cases: 9:08-cv-
                                    80119-KAM et al.
08-80994          81                Sealed Document Associated Cases: 9:08-cv-
                                    80119-KAM et al.
08-80993          96                Sealed Document Associated Cases: 9:08-cv-
                                    80119-KAM et al.
08-80811          6                 Sealed document Unsealed DE 32
08-80811          7                 Sealed document unsealed DE 33
08-80811          17                Sealed document unsealed DE 34
08-80811          34                Unsealed Reply in Support of33 Motion to Stay
            Case 1:15-cv-07433-LAP Document 185-7 Filed 06/01/16 Page 26 of 26


08-80811            27                Order Denying Motion to Seal re 6 Sealed
                                      Document, 17 Sealed Document, 7 Sealed
                                      Document. The clerk shall unseal docket entries
                                      6, 7, and 17 and make them available for public
                                      inspection

08-808 11           28                Order denying motion to stay 6 sealed document
                                      7 sealed document. Per this court's order DE 27


08-8081 I           143               Sealed Document Associated Cases: 9:08-cv-
08-80381            23                Sealed document unsealed see DE 27
08-80381            24                Sealed document unsealed see DE 28
08-80381            27                Unsealed motion to seal by Jeffery Epstein
08-80381            28                Unsealed Notice of Continued Pendency of
08-80381            25                Order denying motion to file Ex Parte and Under
08-80381            33                Unsealed sealed document see DE 41
08-80381            34                Unsealed sealed document see DE 42
08-80381            41                Unsealed motion for Leave to File by Jeffery
08-80381            42                Unsealed Reply to Response to Motion re I I
08-80381            37                Order denying motion to seal. The clerk shall
08-80381            129               Sealed Document Associated Cases: 9:08-cv-
08-80804            4                 Sealed document unsealed DE 18
08-80804            5                 Sealed document unsealed DE 17
08-80804            17                Unsealed motion to file Under Seal by Sarah
08-80804            18                Unsealed motion to file Under Seal by Sarah
08-80804            6                 Order Denying Motion to Seal. The Clerk shall
09-80469            54                Sealed Document Associated Cases: 9:08-cv-
9-8059 1            NIA               System encry Docket encry 3 restricted/sealed
9-8059 1            NIA               System encry Docket encry 4 restricted/sealed
9-80591             68                Sealed Document Associated Cases: 9:08-cv-
9-80656             NIA              System entry Docket entry 3 restricted/sealed
9-80656             NIA               System entry Docket entry 4 restricted/sealed
9-80656             46
